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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA                                              CASE NUMBER

                                                                                          2:24-cr-00103-MWF
                                                       PLAINTIFF(S)
                                  v.
ROGER KEITH VER
                                                                           APPLICATION FOR REFUND OF FEES;
                                                                                  ORDER THEREON
                                                     DEFENDANT(S)
 Please complete all fields in Section I. If you are requesting a refund of fees paid online using pay.gov, also complete
 Section II. Then electronically file the completed form using the Application for Refund of Fees event in CM/ECF.
 SECTION I                                                                   Reason for refund request:
 Name of Applicant: Ashwin J. Ram                                                Duplicate payment submitted
 Amount Paid:                      $ 500                                         Fee paid even though none was required
 Requested Refund Amount: $ 500                                                  Overpayment of a required filing fee
 Document Title and Docket #: Application of Non-Resident Atty                   Pro hac vice application denied (order attached)
 Andrew C. Adams to appear Pro HacVice - Docket # 23                             Other:
 Transaction Date:                     12/04/2024
 Receipt Number:
 (If paid by cash/check only)

 SECTION II (Complete only if you are requesting a refund of fees paid online using pay.gov. This information can be found in the
 pay.gov screen receipt or confirmation email.)
 Account Holder Name:                  Ashwin J. Ram
 Pay.gov Tracking ID:                  ACACDC-38691809
 Agency Tracking ID:

PLEASE BE ADVISED THAT THE POLICY OF THE JUDICIAL CONFERENCE OF THE UNITED STATES GENERALLY
            PROHIBITS THE REFUND OF FILING FEES IN ALL BUT LIMITED CIRCUMSTANCES.
                                       (GUIDE TO JUDICIARY POLICY, VOL. 4, CHAP. 6, § 650.)

                                                          For Court Use Only
Fiscal Department
     Refund issued.                                                             IT IS ORDERED that the application for refund
                                                                                of fees is:
     Application for refund denied:
          Application seeks refund of fee that was not paid.                               GRANTED             DENIED
          Previous court order indicates fee is not to be refunded.

      Application referred to U.S. District/Magistrate Judge for ruling.
                                                                                 United States District/Magistrate Judge
 Notes:




 G-124 (11/17)                             APPLICATION FOR REFUND OF FEES; ORDER THEREON
